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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

Case No. 24-20051-CR-MARTINEZ
UNITED STATES OF AMERICA,
Plaintiff,
v.
ALFRED LENORIS DAVIS,

Defendant.
/

ORDER DENYING DEFENDANT’S MOTION FOR AUDIO OR VIDEO
THIS CAUSE came before the Court upon Defendant’s Motion for Audio or Video [sic]

(“Motion”), (ECF No. 84). Defendant seeks the “audio or video of the [c]onversations” from the
court proceedings held on March 25, 2024, March 26, 2024, July 10, 2024, and July 11, 2024.

First, this Court notes that Defendant is represented by counsel. “Whenever a party has
appeared by attorney, the party cannot thereafter appear or act on the party’s own behalf in the
action or proceeding, or take any step therein, unless an order of substitution shall first have been
made by the Court, after notice to the attorney of such party, and to the opposite party.” Ruiz v.
Wing, 991 F.3d 1130, 1144 (11th Cir. 2021); see S.D. Fla. Local Rule 11(d)(4). Therefore,
Defendant’s attempt to file a pro se motion is in violation of the Local Rules. Second, there are no
audio or video recordings of the court proceedings.

Accordingly, it is ORDERED AND ADJUDGED that Defendant’s Motion, (ECF No.
84), is DENIED.

DONE AND ORDERED in Chambers at Miami, Florida, this 7) day of April 2025.

Ons Met

JOSE H/MARTINEZ
UNITHD STATES DISTRICT JUDGE

Copies provided to:
All Counsel of Record

